Case 1:13-cr-10007-SOH         Document 266         Filed 03/28/17     Page 1 of 1 PageID #: 1466




                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                 EL DORADO DIVISION


 UNITED STATES OF AMERICA                                                          RESPONDENT


 v.                              Criminal No. 1:13-CR-10007-001
                                      Civil No. 1:16-CV-1053
 CHEVIS D. JOHNSON                                                                       MOVANT


                                              ORDER

        Movant, a defendant in this criminal matter, confined to the Federal Bureau of Prisons,

 Jonesville, Virginia, has filed a Notice of Dismissal (ECF No. 265) of his Motion to Vacate, Set

 Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255. ECF No. 255. He seeks dismissal without

 prejudice. The Motion to Vacate had been previously stayed pending the decision of the United States

 Supreme Court in Beckles v. United States, ___ U.S. ___, 2017 W.L. 855781 (March 6, 2017).

        The Government has not responded to the Motion to Vacate and therefore dismissal is proper

 pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i). Movant's Notice of Dismissal is proper and the Motion to

 Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255 (ECF No. 255) is DISMISSED

 without prejudice.

        ENTERED this 28th day of March 2017.


                                                         /s/ Susan O. Hickey
                                                        HON. SUSAN O. HICKEY
                                                        UNITED STATES DISTRICT JUDGE
